       Case 1:14-cv-06852-KPF-SDA Document 132 Filed 06/07/19 Page 1 of 2


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- X
                                                        :
WINTER INVESTORS, LLC, et al.,                          :
                                                        :
                              Plaintiffs,               :     14 Civ. 6852 (KPF) (SDA)
                                                        :
               v.                                       :           AMENDED
                                                        :     ORDER OF REFERENCE
SCOTT PANZER, et al.,                                   :    TO A MAGISTRATE JUDGE
                                                        :
                              Defendants.               :
                                                        :
------------------------------------------------------- X
KATHERINE POLK FAILLA, United States District Judge:

The above entitled action is referred to the designated Magistrate Judge for the
following purpose(s):

 ___    General Pretrial (includes        ___ Consent under 28 U.S.C. §
        scheduling, discovery, non-           636(c) for all purposes
        dispositive pretrial motions, and     (including trial)
        settlement)

 ___    Specific Non-Dispositive                 ___ Consent under 28 U.S.C. §
        Motion/Dispute:                              636(c) for limited purpose (e.g.,
                                                     dispositive motion, preliminary
        __________________________                   injunction)
                                                     Purpose:
                                                     __________________________

 ___    If referral is for discovery             ___ Habeas Corpus
        disputes when the District
        Judge is unavailable, the time
        period of the referral:
        _________________________

 ___    Settlement                               ___ Social Security


 _X_ Inquest After Default/Damages               ___ Dispositive Motion (i.e., motion
     Hearing                                         requiring a Report and
                                                     Recommendation)
                                                     Particular Motion:
    Case 1:14-cv-06852-KPF-SDA Document 132 Filed 06/07/19 Page 2 of 2


     The parties are directed to contact the chambers of Magistrate Judge

Steward D. Aaron regarding an inquest as to damages.

     SO ORDERED.

Dated:     June 7, 2019
           New York, New York                __________________________________
                                              KATHERINE POLK FAILLA
                                             United States District Judge




                                     2
